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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,

                                                     CASE NO.: 1:23-CR-00056-JKB
vs.


BRANDON CLINT RUSSELL,
________________________________/

            UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING

       Brandon Russell hereby files this Unopposed Motion to Continue Sentencing, requesting

that the Court continue his sentencing hearing for a period of approximately 30 days, and in support

thereof would show as follows:

       1.      Sentencing in this matter is currently scheduled for June 17, 2025.

       2.      Without disclosing privileged information, counsel would represent to the Court

that an additional 30 days is required in order for counsel to complete his preparations for

sentencing, including the filing of his sentencing memorandum on Mr. Russell’s behalf. There is

information counsel is waiting for, which will not be available in time for counsel to file the

sentencing memorandum by the current deadline of June 3, 2025.

       3.      Counsel has discussed the requested continuance with the Government. AUSA

Michael Aubin advised that the Government does not oppose the requested continuance.

       Wherefore, counsel would respectfully request that this Honorable Court continue the

currently scheduled sentencing hearing for approximately 30 days.

Dated: May 2, 2025                            Respectfully submitted,

                                              /s/ Ian J. Goldstein

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                                             Ian J. Goldstein (Admitted pro hac vice)

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                                             /s/Kobie A. Flowers
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                                             Counsel for Brandon Russell

                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was electronically filed via CM/ECF which

will serve all parties of record on this 2nd day of May, 2025.

                                             Respectfully submitted,

                                             /s/ Ian J. Goldstein
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